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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.                                    Civil No. 1:22-cv-02791-ACR

  ASSA ABLOY AB, et al.

                         Defendants.


                UNITED STATES’ EXPLANATION OF PROCEDURES
            UNDER THE ANTITRUST PROCEDURES AND PENALTIES ACT

       The United States submits this memorandum summarizing the procedures of the Antitrust

Procedures and Penalties Act, 15 U.S.C. § 16(b)–(h) (the “APPA” or “Tunney Act”), related to

the Court’s review of the proposed Asset Preservation Stipulation and Order (“Stipulation and

Order”) and the proposed Final Judgment in this matter, which were filed at the same time as this

Explanation.

       1.      The United States has filed a proposed Final Judgment and a Stipulation and Order,

to which the United States and Defendants have agreed, and the United States has filed a

Competitive Impact Statement explaining the proposed settlement. The United States and

Defendants have also agreed that the Court may enter the proposed Final Judgment after the

requirements of the Tunney Act have been satisfied.

       2.       The United States and Defendants ask that the Court sign the Stipulation and

Order as soon as possible. The Stipulation and Order will ensure that Defendants preserve

competition during the Tunney Act proceedings by (a) complying with the provisions of the

proposed Final Judgment and (b) maintaining the assets that the proposed Final Judgment
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requires Defendants to divest until the divestiture is complete. The Stipulation and Order permits

Defendants to substantially simultaneously complete their merger and divestiture agreements

while the Tunney Act proceedings are pending.

       3.      The Court should not sign the proposed Final Judgment until the requirements of

the Tunney Act are satisfied. The Tunney Act requires that the United States (a) publish the

proposed Final Judgment and the Competitive Impact Statement in the Federal Register and (b)

cause a summary of the terms of the proposed Final Judgment and the Competitive Impact

Statement to be published in one or more newspapers at least 60 days before the Court signs the

proposed Final Judgment. The newspaper notice(s) will inform the public how to submit

comments about the proposed Final Judgment to the United States Department of Justice’s

Antitrust Division. Defendants in this matter have agreed to arrange and pay for the required

newspaper notice(s).

       4.    During the 60-day period following publication in the Federal Register, the United

States will consider any comments it receives. After the 60-day period has ended, the United

States will prepare a response to any comments and will (a) file with the Court the comments and

the United States’ response and (b) publish the comments and the United States’ response in the

Federal Register unless this Court authorizes an alternative method of public dissemination of

the public comments and the response to those comments pursuant to the Tunney Act, 15 U.S.C.

§ 16(d). After the comments and the United States’ response have been filed with the Court and

published, the United States may move the Court to enter the proposed Final Judgment unless the

United States has withdrawn its consent to entry of the Final Judgment, as permitted by

Paragraph V.A of the Stipulation and Order.




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       5.     If the United States moves the Court to enter the proposed Final Judgment after

compliance with the Tunney Act, the Court may enter the Final Judgment without a hearing if

the Court concludes that the Final Judgment is in the public interest.



Dated: May 5, 2023

Respectfully submitted,

FOR PLAINTIFF
UNITED STATES OF AMERICA

   /s/ Matthew R. Huppert

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